
PER CURIAM.
Mickel Watson appeals from the summary denial of his June 6, 2014, motion to correct illegal sentence, arguing that he was illegally sentenced to a fifty-year prison term on his conviction for the misdemeanor charge of resisting an officer without violence. In response to our order to show cause, the State stated Watson’s original sentence contained a scrivener’s error transposing the sentence imposed on three counts and this error has since been corrected. Because the corrected sentence was not made part of the record in this appeal, we reverse and remand this matter to the trial court for attachment of records conclusively showing Watson is not entitled to relief. Fla. R. App. P. 9.141(b)(2)(D).
Reversed and remanded.
